Case 6:19-bk-03320-KSJ EXHIBIT

| A

19 Pa

 

 

App #
Min #
Note
November 05, 2014 CAMP HILL PENNSYLVANIA
{Date] [City] {State}

5 N RAMONA ROAD
MYERSTOWN, PA 17067
{Property Address]

1. Borrower's Promise to Pay
In return for a loan that I have received, I promise to pay U.S. $117,244.00 (this amount is called "Principal"),
plus interest, to the order of the Lender. The Lender is FULTON BANK, N.A.

I will make all payments under this Note in the form of cash, check or money order.
I understand that the Lender may transfer this Note. The Lender or anyone who takes this Note by transfer and who is entitled
to receive payments under this Note is called the "Note Holder.”

2. Interest

Interest will be charged on unpaid principal until the full amount of Principal has been paid. I will pay interest at a yearly rate
of 3.875%.

The interest rate required by this Section 2 is the rate I will pay both before and after any default described in Section 6(B) of
this Note.

3. Payments

(A) Time and Place of Payments

I will pay principal and interest by making a payment every month.

I will make my monthly payment on the 1st day of each month beginning on January 01, 2015  . I will make
these payments every month until I have paid all of the principal and interest and any other charges described below that I may owe
under this Note. Each monthly payment will be applied as of its scheduled due date and will be applied to interest before Principal.
If, on December 01, 2044, I still owe amounts under this Note, I will pay those amounts in full on that date, which is
is called the "Maturity Date."

I will make my monthly payments at ONE PENN SQUARE, LANCASTER, PA 17602

or at a different place if required by the Note Holder.

(B) Amount of Monthly Payments
My monthly payment will be in the amount of U.S. $ 551.32

4. Borrower's Right to Prepay

Ihave the right to make payments of Principal at any time before they are due, A payment of Principal only is known as a
"Prepayment." When I make a Prepayment, [ will tell the Note Holder in writing that I am doing so. I may not designate a payment
as a Prepayment if I have not made all the monthly payments due under the Note.

I may make a full Prepayment or partial Prepayments without paying a Prepayment charge. The Note Holder will use my
Prepayments to reduce the amount of Principal that I owe under this Note. However, the Note Holder may apply my Prepayment to
the accrued and unpaid interest on the Prepayment amount, before applying my Prepayment to reduce the Principal amount of the
Note. If I make a partial Prepayment, there will be no changes in the due date or in the amount of my monthly payment unless the
Note Holder agrees in writing to those changes.

 

MULTISTATE FIXED ARATE NOTE - Single Family - Fannie Mae/Freddie Mac UNIFORM INSTRUM ENT Form 3200 1/01
¥MP VMPS5N (1902)

Wolters Kluw er Financia! Services Page 1 of 3

 
 

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§. ‘Loan Charges

If a !aw, which applies to this loan and which sets maximum loan charges, is finally interpreted so that the interest or other
loan charges collected or to be collected in connection with this loan exceed the permitted limits, then: (a) any such loan charge
shall be reduced by the amount necessary to reduce the charge to the permitted limit; and (b) any sums already collected from me
which exceeded permitted limits will be refunded to me. The Note Holder may choose to make this refund by reducing the
Principal I owe under this Note or by making a direct payment to me. If a refund reduces Principal, the reduction will be treated as
a partial Prepayment.

6. Borrower's Failure to Pay as Required

{A) Late Charge for Overdue Payments

If the Note Holder has not received the full amount of any monthly payment by the end of Fifteen calendar days
after the date it is due, I will pay a late charge to the Note Holder. The amount of the charge will be 4.000% of my
overdue payment of principal and interest.

I will pay this late charge promptly but only once on each late payment.

(B) Default
If I do not pay the full amount of each monthly payment on the date it is due, I will be in default.

(C) Notice of Default

If Fam in default, the Note Holder may send me a written notice telling me that if I do not pay the overdue amount by a
certain date, the Note Holder may require me to pay immediately the full amount of Principal which has not been paid and all the
interest that I owe on that amount. That date must be at least 30 days after the date on which the notice is mailed to me or delivered
by other means. ‘

(D) No Waiver By Note Holder
Even if, at a ime when I am in default, the Note Holder does not require me to pay immediately in full as described above,
the Note Holder will still have the right to do so if I am in default at a later time.

(E) Payment of Note Holder's Costs and Expenses

If the Note Holder has required me to pay immediately in full as described above, the Note Holder will have the right to be
paid back by me for all of its costs and expenses in enforcing this Note to the extent not prohibited by applicable law. Those
expenses include, for example, reasonable attorneys’ fees.

7. Giving of Notices

Unless applicable law requires a different method, any notice that must be given to me under this Note will be given by
delivering it or by mailing it by first class mail to me at the Property Address above or at a different address if I give the Note
Holder a notice of my different address.

Any notice that must be given to the Note Holder under this Note will be given by delivering it or by mailing it by first class
mail to the Note Holder at the address stated in Section 3{A) above or at a different address if I am given a notice of that different
address.

8. Obligations of Persons Under this Note

If more than ene person signs this Note, each person is fully and personally obligated to keep all of the promises made in this
Note, including the promise to pay the full amount owed. Any person who is a guarantor, surety or endorser of this Note is also
obligated to do these things. Any person who takes over these obligations, including the obligations of a guarantor, surety or
endorser of this Note, is also obligated to keep all of the promises made in this Note. The Note Holder may enforce its rights under
this Note against each person individually or against all of us together. This means that any one of us may be required to pay all of
the amounts owed under this Note.

 

MULTISTATE FIXED RATE NOTE - Singla Family - Fannie Mae/Freddie Mac UNIFORM INSTRUMENT Form 3206 1/01
VMP @ VMPS5N (1302)
Wolters Ktuw er Financiat Services Page 2 of 3
 

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9. ‘Waivers

I and any other person who has obligations under this Note waive the rights of Presentment and Notice of Dishonor.
“Presentment” means the right to require the Note Holder to demand payment of amounts due. "Notice of Dishonor" means the
right to require the Note Holder to give notice to other persons that amounts due have not been paid.

10. Uniform Secured Note
This Note is a uniform instrument with limited variations in some jurisdictions. In addition to the protections given to the
Note Holder under this Note, a Mortgage, Deed of Trust, or Security Deed (the "Security Instrument"), dated the same date as this
Note, protects the Note Holder from possible losses which might result if I do not keep the promises which I make in this Note.
That Security Instrument describes how and under what conditions I may be required to make immediate payment in full of all
amounts I owe under this Note. Some of those conditions are described as follows:
If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is
not a natural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior written
consent, Lender may require immediate payment in full of all sums secured by this Security Instrument.
However, this option shalt not be exercised by Lender if such exercise ts prohibited by Applicable Law.
If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall
provide a period of not less than 30 days from the date the notice is given in accordance with Section 15
within which Borrower must pay all sums secured by this Security Instrument. If Borrower fails to pay these
sums prior to the expiration of this period, Lender may invoke any remedies permitted by this Security
Instrument without further notice or demand on Borrower.

WITNESS THE HAND(S) AND SEAL(S) OF THE UNDERSIGNED.

0/F__ (Seal) (Seal)

 

 

 

 

ERIC M PY$HER -Borrower -Borrower
(Seal) {Seal)
-Borrower -Borrower

{Sign Original Only]
L_} Refer to the attached Signature Addendum for additional parties and signatures.

Loan origination organization FULTON BANK, N.A.
NMLS ID a Pay Ne onda WELLS FARGO BANK, NA, —

Loan originator Jessie Schwalm Without Recourse

NMLS ID

 
 

 

      

 

 

MULTISTATE FIXED RATE NOTE - Single Family - Fannie Mae/Freddie Mac UNIFORM INSTRUM ENT Form 3200 1/01
VMP @ VM PSN (13902)
Wolters Kluwer Financial Services Page 3 of 3
 

 

 

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<": WITHOUT RECOURSE
: PAY TO THE ORDER OF

WELLS FAR ANK, NLA.

BY
SAMUEL C. SHELLEY, selon Yee PRESIDENT

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Case 6:19-bk-03320-KSJ Doc 10-1 Filed 06/19/19 Page 5 of 19

COULNTY OF LEBANON
RECORDER OF DEEDS

Donna J. Lutz, Recorder

400 South Sth Street Room 117
Lebanon, Pennsylvania 17042-6794

 

Instrument Number - 201413207 Book - 2204 Starting Page - 1615
Recorded On 11/7/2014 At 1:25:09 PM * Total Pages - 4

*Tnstrument Type - DEED
Invoice Number - 253457

* Grantor - LEFFILER, FRANCES

* Grantee - PYSHER, ERIC M

 

 

 

 

 

 

* FEES

STATE TRANSFER TAX $1,149.00 This is a certification page
STATE WRIT TAX $0.

JCS/ACCESS TO JUSTICE $35.

RECORDING FEES - $13. DO NOT DETACH
RECORDER OF DEEDS ; ;

PARCEL CERTIFICATION $10, This page is nuw part
FEE of this legal document.
AFFORDABLE HOUSING $12.0

COUNTY ARCHIVES FEE $2.

ROD ARCHIVES FEE $3.

 

EASTERN LEBANON SCHOOL $574.
DISRICT REALTY TA

JACKSON TOWNSHIP $574.50
TOTAL PAID $2,374.00

Thereby CERTIFY that this document is
recorded in the Recorder of Deeds Office
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Donna J. Lutz
Recorder of Deeds

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the verification process and may nol be reflected on this page.

Book: 2204 Page: 1618
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Prepared By:

Lisa M Cochran
One Pann Square
Lancaster, PA 17602

(717) 735-2242
Return To:

FULTON BANK, NA,

4425 Bonney Road, Suite 316
Virginia Beach, VA 23462
Attn: Post Closing

Parcel Number:
23 2362912 380603
Premises: CERTIFIED PROPERT
5 N RAMONA ROAD
MYERSTOWN, PA 17067

        
 
 

 

DENTIFICATION NUMBERS
JACKSON TP
7/2014 BY MUC

 

 

 

PURCHASE: MONE

 

Words used in muluple sections of this document are defined below and other words are defined in
Sections 3. Ji, 13, 18, 20 and 24. Certain rules regarding the usage of words used in this document are

Definitions

alse provided in Section 16,

{A) "Security Instrument” means this document, which is dated November 05, 2014 . together
with all Racers to this document.

(B) "Borrower" is ERIC M PYSHER

 

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Borrower 1s the mortgagor under this Security Instrument,

(C} “MERS" is Mortgage Electronic Registration Svstems, Inc. MERS is a separate corporation that is
acting solely as a nomunee for Lender and Lender's successors and assions. MERS is the mortgagee
under this Security Instrument. MERS is organized and existing under the laws of Delaware, and
MERS has a mailing address of P.O. Box 2026, Flint, ME 48501-2026 and a street address of L901 E
Yoorhves Street. Suite C, Danville, TL 61834, The MERS telephone number is (888) 679-MERS,

(D) “Lender is FULTON BANK, NLA.

Lender is a CORPORATION
organized and cxistmg under the laws of UNITED STATES OF AMERICA
Lender's address is ONE PENN SQUARE, LANCASTER, PA 17602

{E} "Note" means the promissory nore signed by Borrower and dated. November 05, 2014
The Note states that Borrower owes Lender Orte Hundred Seventeen Thousand Two
Hundred Forty Four And Zero/19a0

Dollars (U.S, $117,244. O0-:
to pay this debt in regular Periodic Paya
December O01, 2044

{F} “Property” means the prope scnbed: belay tmnder the heading “Transfer of Rights in the

Property." : .

(G) “Loan" means the debt ¢
charges due under the Note,

  
   
 
 
  
 

sums due under this Security Instrument, plus mferest.

(H} “Riders means all Riders ta this Security Instrument that are executed by Borrower. The following
Riders are to he executed by Borrower [check box as applicable]:

Cd Adjustable Rate Rider LL. (| Condominiam Rider ["_] Second Home Rider
Lj Balloon Rider LJ Planned Unit Development Rider i] {-4 Family Rider
[_J VA Rider [_] Biweekly Payment Rider | xX Other(s) fspecifyT 7 .egal Description

(i) “Applicable Law” means all controlling applicable federal, state and local statutes. reculations,
ordinances and adramisteative rules aod orders (that have the effect of law) as well as all applicable
final, non-appeadahle judicial opinions.

 

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Page 2 of 29

 

    

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(J) “Community Association Dues, Fees, and Assessments" means all dues, fees, assessments
and other charves that we imposed an Borrower or the Property by a condomininm association,
honwewners associntion or simular orzanization.

(K} "Electronic Funds Transfer" means any transfer of funds, other than a transaction originated by
check, draft, or similar paper instrument. which is initiated through an electronic terminal, telephonic
instrument, computer, or magnelte tape so as to order, instruct, or authorize a financial institution to
debit or credit an account. Such term includes. but is not tmited to, point-of-sale transfers, automated
teller machine transactions. transfers initiated by telephone, wire transfers, and automated
clearinghouse transters.

(L} “Escrow Items" means those items that are described in Section 3.

{M) "Miscellaneous Proceeds” means any compensation, settlement, award of damages, or proceeds
paid by any tlird party (other than insurance proceeds paid under the coverages described in Section
3) for: (i) dumage to, or destruction of, the Property; (i1) condemmation or other taking of all or any
part of the Property: Gif} conveyalice in lien of condemnation; of Gv) misrepresentations of, or

   
 
 
 
    

(N) "Mortgage Insurance" means insurance
on. the Loa.

(O} "Periodic Payment" mea
the Note, phis (11) amy amd

(P) “RESPA" means the Redsfistate Settlement Procedures Act (12 U.S.C, Section 2601 et seq.) and its
tmplementing regulation, R Salat X12 CLPLR. Part 1024), as they might be amended from time
ta time, or any additional or suécessor legislation or reculation that governs the same subject matter.
AS used in tis Sccurily instrument, "RUSPA” reters lo all reqrirements and restrictions that are
imposed m regard to a “federally related mortgage loan" even if the Loan does not qualify as a
“federally related morigage loan” under RESPA,

 

{Q) “Successor in interest of Borrower" means any party that has taken Ue to the Property, whether
or nok that party has assumect Borrower's obligations under the Note and/or this Security Instrument.

Transfer of Rights in the Property

This Security Instrument secures to Lender: (2) the repayment of the Lean, and all renewals, extensions and
modifications af the Note; and Gi} the performance of Borrower's covenants and agreements under this
Security Instrument and the Note. For this purpose, Borrower does hereby rortgage, grant and convey to
MERS (solely as nominee for Lender and Lender’ s successors und assigns) and to the successors and
nssichs Of MERS. the following described property located in the County [Type of Reevrding Jnvisdicton}

 

(Songs Party» Panne AterSradis Mer ENIEO RM EME UUMIAeT WITH AP ERS Form aGae Tid
YRBEAIPAI (203)

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of LEBANON JName of Recording Jurisdicedan|:

BEING the same premises more fully described in the attached legal description and made a part hereot.

which currently has the address of 5 NM RAMONA ROAD

 
 
   

[Street]
MYERSTOWN | Petinsylwania 17067 [Zip Code!
("Property Address”):

   
 
 
  
 

property, and all easements,
Sperty, Allteplacements and additions shall
regoing is referred to in this Security instrument

  

TOGETHER WITH aff the improvements now. or h

isaiahe right to RE INE aiid sell the Bae a to take any action
GIB wt. air RA but nor. limited to, releasing and canceling this Security Instrument.

BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has the
right fo niortgage, grant and convey the Property and that the Property is unencumbered, except for
encumbrances of record. Borrower wartants and will defend generally the title to the Property against ail
clans and demands. subject te any encumbrances of record.

THES SECURITY INSTRUMEN'E combines unitorm covenants fer national use and non-uniform
covenants wilh limited variations by jurisdiction to constitute a uniform security instrument covering real
property.

UNIFORM COVENANTS. Borrower and Londer covenant and agree as follows:

1. Payment of Principal, Interest, Escrow Hems, Prepayment Charges, and Late Charges.
Borrower shail pay when due the principal of. and interest on. the debt evidenced by the Note and
any prepavnient charges ane late charges due under the Note. Berrower shall also pay funds for

 

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Page 4 a4 20

 
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Loan Number: |
Guardian Transfer File:

Exhibit A
Legal Description

ALL THOSE TWO contiguous tracts of land situate in the Township of Jackson, County
of Lebanon and State of Pennsylvania, being respectively bounded and described as
follows, to wit:

TRACE NO. 1

BEGINNING al a point in the middie of a road leading to Mt. Aetna, approximately two
hundred and ninety feet (290) North of the intersection of said road with middle of
Pennsylvania Route 4422; thence North three and one-half degrees West (N. 3 44° W)
fifty-two and one-half feet ($2 '4) along the middle of the Mt. Aetna road to a pin: thence
South eighty-six and. one-half degrees West (S. 86 4% ° W) two hundred feet (200) along
land late of George S. Ross, being Tract No. 2 herein, 1 a stake; thence along other land
ot the said George S$. Ross, South three and one-half degrees East (S. 3 % ° 5) fifty-two
and one-half feet (52 %) to a stake; thence along land now or late of George S. Ross
North cighty-six and one-half degrees East (N. 86 4° EB) tyvo hundred fect (200) to the
place of BEGINNING.

 
  
    

CONTAINING 241/1000 of an acre.
TRACT NO, 2
BEGINNING at a point i d leading to Mt. Acina approximately three
hundred and forty feet (3 h of the intersection of said road with middle of
Pennsyivania Route #422: thence North three and one-half degrees West (N. 3 42° W)
twenty feet (20) along the middle of Mt. Aeina Road to pin; ihence South eighty-six and
one-half degrees West (S. 86 14° W) two hundred fect (200) along other Jand now or late
of Henry H. Hacker and wife, to a stake; thence along fand of George S. Ross South three
and one-half degrees East (8. 3 4 ° Is) twenty feet (20) to a stake; thence along land late
of George 8. Ross, now Tract No. { herein, North eighty-six and one-half degrees East
(N, 86 (4° E) two hundred feet (206) to the place of BEGINNING.
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Borrower shall proniptly take al) necessary reroedial actions in accardanee with Eavironmentat Law.
Nothing herem shall create any obligation on Londer for an Environmental Cleant tip.

NON-UNIPORM COVENANTS. Borrower and Lender further covenant and weree as follows:

22. Acceleration; Remedies. Lender shall give notice to Borrower prior to acecleration following
Barrower's breach of any covenant or agreement in this Security Instrument (but not prior te
acceicration under Section 18 unless Applicable Law provides otherwise). Lender shall notify
Borrower of, among other things: (a) the default; 4b) the action required fo cure the default: (¢)
when the defanit must be cured; and (d) that failure te care the defauil as specificd may result
in acceleration of the sums secured by this Security Instr ument, foreclosure by judicial
proceeding und sale of the Property. Leader shall further inform Borrower of the right to
reinstate after acceleration and the right lo assert in the foreclosure proceeding the non-existence
of 2 default or any other defense of Borrower to acceleration and forcelosure. If the default is
not cured as specified, Lender at its option may require immediate payment in full of all sums
securce by this Security Instrument without further demand id may foreclose this Security
Insirtnment by judicial proceeding. Lender shall be enti Feollect all expenses incurred in
pursuing tae remedies promded i in this pectlony g it not limited to, attorneys’ fees

Law.

   
   
  
  
   
 

23. Refease. Upon payment of all suis curity Instrument, this Security Instrament and
[he estate conveyed shall terminate a iter such occurrence, Lender shall discharge
amd s; ee this Security ae pea Bere ‘al Pay any recordation costs. Lender may charge

iistrrimeni, but onl? if the ine is ae toa third party for

24. Waivers. Borrower, 4o the extent permitted by Applicable Law, waives and releases any error or
defects i proceedings t enforce dis Security instrament, and herehy waives the benefit of any
present or future hyys providing Cor stay of execution, extension of time. exemption from attachment,
lews anil sale. and homestead exerption.

25. Reinstatement Period. Borrower’ s time to reinstate provided in Section 19 shall extend to one hour
priae to the commencement of bulding atasheriff s sale or other sale pursuant to this Security
Instrurnent,

26. Purchase Money Mortgage. If any of the debt secured by this Security Instrument ts lent ta
Korrower (o acquire fitle to the Property, this Securit: Instrument shall be a purchase money
mentee.

27. Interest Rate After Judgment. Surcrower durces that the interest rale pavable after a judement is
entered on the Note or in ag action of mortgace foreclosure shal] be the rate payable fram time to
inte undar the Nore.

 

 

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BY SIGNING BELOW, Borrower accepts and agrees to the rerms and covenants contained in this Security
Instrument and in aay Rider executed by Borrower ancl recorded with it,

Borrawer

 

 

 

 

 

; ce ee LS/2014
ERIC M PYSHER Date
{Seat}
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° Date
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Lut Refer to the attached Srenature Addenctum for additional parties and srgenatures.

 

   
 

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Shey Only Battle Glnerecdig Bos GA SOT SE RL ET anita dees
VM PRAIZAL

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Acknow ledgment
State of PA .
County of CHMBERICAHB em |
On November 05, 2014 . betore me.
ihe undersiuned officer, persunaliy appeared
ERIC M PYSHER

 
 

Known lo roe, for satisfactorily proven) to be the person whose name(s) is/are subseribed to the within
Instrument and acknowledged that he/she/they executed the same for the purposes therein contained.

fn witness whereof [ hereunto set ray hand and official seal.

ECO ORT At
po ee

  

 

Narar: Public
iy cominissiont expires:

 

Certificate of Residence
k, . do hereby certify that the

carrect aderess of the within-narmed Mortrauce is [HH E Voorhees Street, Suite C, Danville, TZ, 61834.

Witness my iuad this Sth day of November, 2014

  

feet Avent of Morigagce

  
 
 
 

am FULTON SANK, NLA.

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S a, ¢

   
    

COUNTY OF LEBANON

 
 

ae RECORDER OF DEEDS

* Nz se Donna J. Lutz, Recorder
NIL fs 400 South Sth Street Koom 117

I~? a Lebanon, Pennsylvania 17042-6794
“
VSS
Instrument Number - 2014132038 Book - 2204 Starting Page - 1619
Recorded On 11/7/2014 At 1:25:10 PM * Total Pages - 22

* Instrument Type - MORTGAGE
Invoice Number - 253457
* Mortgagor - PYSHER, ERIC MI
* Mortgagee - MORTGAGE ELECTRONIC REGISTRATION SYSTEMS INC

 

 

    
 
  

 

 

 

* FEES
STATE WRIT TAX $0.50 This is a certification page
JCS/ACCESS TO JUSTICE $35.50
RECORDING FEES - $47.00
RECORDER OF DEEDS DO NOT DETACH
PARCEL CERTIFICATION $10.0 ; ;
FEE This page is now part
AFFORDABLE HOUSING 846. of this legal document.
COUNTY ARCHIVES FEE $2.00
ROD ARCHIVES FEE $3.00
TOTAL PAID $144.00

Thereby CERTIFY that this document is
recorded in the Recorder of Deeds Office
w/oath no OHSS Rane, OU tisg,

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Donna J. Lutz
Recorder of Deeds

   

*_ Information denoted by an asterisk may change during
the verification process and may nol be reflected on this page.

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# 201706325 - Page

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***Send All Notices to Assignee***

RECORDING REQUESTED BY:
WELLS FARGO BANK, N.A.

1000 BLUE GENTIAN RD SUITE 200
EAGAN MN 55121

 

 

 

 

CERTIFIED PROPERTY IDENTIFICATION NUMBERS
WHEN RECORDED MAIL TO: JACKSON TP
WELLS FARGO BANK, N.A. CERTIFIED 05/11/2017 BY MJC
ASSIGNMENT TEAM
MAC: N9289-016
PO BOX 1629
EAGAN MN 55121-4400

 

ASSIGNMENT OF MORTGAGE
MIN: RE Mes Phone #: 1-888-679-6377
For good and valuable consideration, the sufficiency of which is hereby acknowledged, MORTGAGE ELECTRONIC REGISTRATION
SYSTEMS, INC., AS NOMINEE FOR FULTON BANK, NATIONAL ASSOCIATION, ITS SUCCESSORS AND ASSIGNS , P.O.
BOX 2026, FLINT, MI 48501-2026 , by these presents does convey, assign, and transfer and set over to: WELLS FARGO BANK,
NA , 1 HOME CAMPUS , DES MOINES, IA 50328 , the following described Mortgage, with all interest, all liens, and any rights due or
to become due thereon. Said Mortgage for $117244.00 is recorded in the State of PENNSYLVANIA , County of Lebanon Official
Records, dated 11/05/2014 and recorded on 11/07/2014 , as Instrument No. 201413208 in Book No. 2204, at Page No. 1619.
Original Mortgagor: ERIC M PYSHER
Original Mortgagee: MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC., AS NOMINEE FOR FULTON BANK,
NATIONAL ASSOCIATION, ITS SUCCESSORS AND ASSIGNS
Property Address: 5 N RAMONA ROAD MYERSTOWN, PA 17067
Municipality: Township of JACKSON

MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC is at |
61834, P.O. BOX 2026, FLINT, MI 48501-2026
PIN #: XX-XXXXXXX-380603-0000

Date: 05/11/2017

     

hhees Street, Suite C, Danville, IL

MORTGAGE ELECTRONIC REGISTRATION SY, TEMS, INC., AS NOMINEE FOR FULTON BANK, NATIONAL ASSOCIATION,
ITS SUCCESSORS AND ASSIGNS
By:

Co >

CARLA M. NAUGHTON, Assistant Secretary

STATE OF MN
COUNTY OF Dakota
On 05/11/2017 , before me YVES AKARA KENAO , Notary Public, personally appeared CARLA M. NAUGHTON , Assistant
Secretary of MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC., AS NOMINEE FOR FULTON BANK, NATIONAL
ASSOCIATION, ITS SUCCESSORS AND ASSIGNS personally known to me (or proved to me on the basis of satisfactory evidence),
to be the person whose name is subscribed to the within instrument and acknowledged to me that he/she executed the same in his/her
authorized capacity, and that by his/her signature on the instrument, the person or entity upon behalf of which the person acted,
executed the instrument.

Witness my hand and official seal.

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YVES AKARA KENAO, Notary Public
Commission #: 31048018
My Commission Expires: 01/31/2022

I do certify that the precise address of WELLS FARGO BANK, NA is 1 HOME CAMPUS , DES MOINES, IA 50328

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Attested By:

CARLA M. NAUGHTON, Assistant Secretary

 
Case 6:19-bk-03320-KSJ

 

Instrument Number - 201706325
Recorded On 5/12/2017 At 10:14:56 AM

* Instrument Type - ASSIGNMENT
Invoice Number - 289694

* Mortgagor - PYSHER, ERIC M

* Mortgagee - WELLS FARGO BANK

 

# 201706325 - Page

Doc 10-1 Filed 06/19/19 Page 16 of 19

* FEES

STATE WRIT TAX $0.50
JCS/ACCESS TO JUSTICE $35.50
RECORDING FEES - $15.00

RECORDER OF DEEDS
PARCEL CERTIFICATION
FEE

COUNTY ARCHIVES FEE
ROD ARCHIVES FEE
TOTAL PAID

Book: 2236 Page: 2976

COUNTY OF LEBANON
RECORDER OF DEEDS

Donna J. Lutz, Recorder

400 South 8th Street Room 107
Lebanon, Pennsylvania 17042-6794

Book - 2236 Starting Page - 2975
* Total Pages - 2

 

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of this legal document.

 

 

 

Thereby CERTIFY that this document is
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Recorder of Deeds Bk

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* - Information denoted by an asterisk may change during

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Case 6:19-bk-03320-KS¥. "D6t79924 - Fed OGALOPL9 Page 18 of 19
***Send All Notices to Assignee*** et

RECORDING REQUESTED BY: ae ei
WELLS FARGO BANK, N.A. eae
1000 BLUE GENTIAN RD SUTTE 200

EAGAN MN 55121

WHEN RECORDED MAIL TO:
WELLS FARGO BANK, N.A.
ASSIGNMENT TEAM

MAC: N9289-016

PO BOX 1629

EAGAN MN 55121-4400

 

CERTIFIED PROPEATY TDENTIEFICATION HOMBERS
JACKSON TP
CERTIFIED 05/11/2017 BY MJC

 

 

 

 

ASSIGNMENT OF MORTGACE “
MIN SE MERS Phone #: 1-888-679-6377
For good and valuable consideration, the sufficiency of which is hereby acknowledged, MORTGAGE ELECTRONIC REGISTRATION
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Original Mortgagee: MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC., AS NOMINEE FOR FULTON BANK,
NATIONAL ASSOCIATION, ITS SUCCESSORS AND ASSIGNS
Property Address: SN RAMONA ROAD MYERSTOWN, PA 17067 of ts
Municipality: Township of JACKSON

MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC is at 1901 E Voorhees Street, Suite C, Danville, IL
61834, P.O. BOX 2026, FLINT, MI 48501-2026

PIN #: XX-XXXXXXX-380603-0000

Date: 05/11/2017

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MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC., AS NOMINEE FOR FULTON BANK, NATIONAL ASSOCIATION,
ITS SUCCESSORS AND ASSIGNS
By: .
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CARLA M. NAUGHTON, Assistant Secretary ;

STATE OF MN ‘oege

COUNTY OF Dakota } 5-5: ak.

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On 05/11/2017 , before me YVES AKARA KENAO , Notary Public, personally appeared CARLA M. NAUGHTON , Assistant
Secretary of MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC, AS NOMINEE FOR FULTON BANK, NATIONAL
ASSOCIATION, ITS SUCCESSORS AND ASSIGNS personally known to me (or proved to me on the basis of satisfactory evidence),
to be the person whose name is subscribed to the within instrument and acknowledged to ‘me that he/she executed the same in his/her
authorized capacity, and that by his/her signature on the instrument, the person or entity upon behalf of which the person acted,

executed the instrument.
Witness my hand and official seal.

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mn ; s 3, ZEB AKARA KENAO}
YVES AKARA KENAO, Notary Public ‘* i wromamoonuorencien’

Commission #: 31048018
My Commission Expires: 01/31/2022

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{ do certify that the precise address of WELLS FARGO BANK, NA is 1 HOME CAMPUS,, DES MOINES, IA 50328

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Attested By: 7 Tee
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CARLA M. NAUGHTON, Assistant Secretary, c oe
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Case 6:19-bk-03320-KS#. #0074624 - fated e6A19/19

 

Instrument Number - 201706325
Recorded On 5/12/2017 At 10:14:56 AM
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Invoice Number - 289694
“ Mortgagor - PYSHER, ERIC M

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Page 19 of 19

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COUNTY ( yF LEBANON
RECORDE} OF DEEDS

Donna J. Lutz, Recorder

400 South 8th Street Room 107
Lebanon, Pennsylvania 17042-6794

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Book - 2236" Starting Page - 2975
* Total Pages - 2

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* Mortgagee - MORTGAGE ELECTRONIC REGISTRATION sysTiivis INC

* FEES

STATE WRIT TAX $0.50
JCS/ACCESS TO JUSTICE $35.50
RECORDING FEES - $15.00
RECORDER OF DEEDS

PARCEL CERTIFICATION $10.00
FEE

COUNTY ARCHIVES FEE " $2.00
ROD ARCHIVES FEE $3.00
TOTAL PAID $66.00

Book: 2236 Page: 2976

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